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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               ABERDEEN DIVISION

ANTHONY MARQUIS THOMAS                                                                  PLAINTIFF

v.                                                                              No. 1:21CV22-JMV

LEE COUNTY
SGT. SMOTHERMAN                                                                      DEFENDANTS


                                        PROCESS ORDER

       The court has reviewed the complaint in this case and finds that process should issue for

defendants Lee County, Mississippi, and Sgt. Smotherman.

       It is ORDERED:

       (1)     The clerk of the court will issue process for Lee County, Mississippi, and Sgt.

Smotherman, along with a copy of this order and the order permitting the plaintiff to proceed in

forma pauperis. The United States Marshal Service will serve process upon this defendant

under to 28 U.S.C. § 1915(d), using good faith efforts to identify and locate the proper person

and obtain service by all approved alternative means as provided by F.R.Civ.P. 4 and

Miss.R.Civ.P. 4 if service by mail is unsuccessful. If the defendant is located in another state,

the Marshal Service must obtain service by that state’s law governing service of process.

       (2)       A scheduling order will be issued once the defendants have answered; the

plaintiff may not submit any discovery requests until the scheduling order has been entered.

       (3)     In the event any damages or other moneys become payable to or for the benefit of

the plaintiff as a result of this litigation, whether by way of satisfaction of a judgment,

compromise settlement, or otherwise, the plaintiff remains liable to the United States for the

reimbursement of all court costs, fees and expenses which he has caused to be incurred in the
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course of this litigation, and the United States will have a lien against any damages or other

moneys until the United States has been fully reimbursed for those court costs, fees and expenses

by payment of them into the court.

       (4)     The plaintiff must acknowledge receipt of this order by signing the enclosed

acknowledgment form and returning it to the court within fourteen (14) days of this date.

       (5)     The plaintiff’s failure to keep the court informed of his current address or to

comply with the requirements of this order may lead to dismissal of his lawsuit under Fed. R.

Civ. P. 41(b), for failure to prosecute and failure to comply with an order of the court.

       SO ORDERED, this, the 5th day of May, 2021.


                                                      /s/ Jane M. Virden
                                                      UNITED STATES MAGISTRATE JUDGE
